Case 0:10-cv-61357-JIC Document 44 Entered on FLSD Docket 12/22/2010 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 10-61357-CIV-COHN/SELTZER

 RENEE J. FECTEAU,

                      Plaintiff,

 vs.

 GENERAL REVENUE CORPORATION,

                 Defendant.
 ____________________________________/

        ORDER ON PLAINTIFF’S MOTION FOR ENTRY OF FINAL JUDGMENT AND
                            FINAL JUDGMENT

        THIS CAUSE is before the Court on Plaintiff’s Motion for Entry of Final Judgment

 [DE 35] (“Motion”). The Court has reviewed the Motion, Defendant’s response [DE 39],

 Plaintiff’s reply [DE 43], and is otherwise advised in the premises.

        On July 30, 2010, Plaintiff filed a seven count Complaint against Defendant

 alleging violations of the Fair Debt Collection Practices Act (“FDCPA”), the Florida

 Consumer Collection Practices Act (“FCCPA”), and the Telephone Consumer

 Protection Act (“TCPA”). See DE 1. On November 29, 2010, Defendant served on

 Plaintiff an Amended Offer of Judgment pursuant to Fed. R. Civ. P. 68. See DE 34-1 at

 1-2. The Amended Offer of Judgment pertains only to Plaintiff’s claims arising under

 the FDCPA and FCCPA. See id. On December 9, 2010, Plaintiff accepted Defendant’s

 Amended Offer of Judgment. Plaintiff’s acceptance was timely.

        On December 9, 2010, Plaintiff filed true copies of Defendant's Amended Offer

 of Judgment and Plaintiff's acceptance thereof with the Court. See DE 34. Defendant’s

 Amended Offer of Judgment provides for entry of a Judgment of $2,000.00 in favor of
Case 0:10-cv-61357-JIC Document 44 Entered on FLSD Docket 12/22/2010 Page 2 of 3




 Plaintiff plus attorney fees and costs regarding Plaintiff’s claims under the FDCPA and

 the FCCPA along with equitable relief under the FCCPA. Upon entry of judgment on

 the FDCPA claims, the Court no longer has subject matter jurisdiction over the TCPA

 claim. Although, the TCPA is a federal statute, the Eleventh Circuit has stated that the

 TCPA’s private right of action is assigned to state courts exclusively. Nicholson v.

 Hooters of Augusta, Inc., 136 F.3d 1287, 1289 (11th Cir. 1998). Thus, the Court shall

 dismiss Plaintiff’s TCPA claim. However, the dismissal of Plaintiff’s TCPA claim is

 without prejudice because when a District Court lacks subject matter jurisdiction, the

 Court has “no power to render a judgment on the merits.” Crotwell v. Hockman-Lewis

 Ltd., 734 F.2d 767, 769 (11th Cir. 1984).

        Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion for Entry of

 Final Judgment [DE 35] is GRANTED. The Court enters Final Judgment in favor of the

 Plaintiff, Renee J. Fecteau, and against Defendant, General Revenue Corporation, in

 the amount of $2,000.00 together with interest thereon at the legal rate from the date of

 this Final Judgment, for all of which let execution issue. The Court retains jurisdiction of

 the issue of Plaintiff’s attorney fees and costs.

        It is FURTHER ORDERED AND ADJUDGED, pursuant to Rule 68 and Plaintiff’s

 acceptance of Defendant’s Amended Offer of Judgment, in full satisfaction of Plaintiff’s

 claims for equitable relief under the FCCPA in Counts V and VI of Plaintiff’s Complaint,

 the Court hereby enters a declaratory judgment that Defendant, General Revenue

 Corporation’s practices with regard to Plaintiff’s account is in violation of the FCCPA,

 Fla. Stat.§ 559.72(7) and Fla. Stat.§ 559.72(9); and Defendant is permanently enjoined



                                               2
Case 0:10-cv-61357-JIC Document 44 Entered on FLSD Docket 12/22/2010 Page 3 of 3




 from engaging in practices with regard to Plaintiff’s account in continuing violation of the

 FCCPA, § 559.72(7) and Fla. Stat.§ 559.72(9).1

        It is FURTHER ORDERED AND ADJUDGED that Count VII of Plaintiff’s

 Complaint, arising under the TCPA, is DISMISSED WITHOUT PREJUDICE.

        The Clerk shall CLOSE this case and DENY all pending motions as MOOT.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida on this 22nd day of December, 2010.




 Copies provided to counsel of record.




        1
                 Defendant, in its response, “objects to Plaintiff’s Proposed Order to the
 extent that it includes a declaration by this Court that Defendant violated the FCCPA,
 and enters a permanent injunction against Defendant.” DE 39 at 6. Defendant’s
 Amended Offer of Judgment, however, provides for “any declaratory or injunctive relief
 requested and awarded by the Court.” DE 34-1 at 1. Defendant now maintains that
 Plaintiff “has not shown that an award of injunctive or declaratory relief is ‘necessary or
 proper’ in this case.” DE 39 at 6. Defendant seizes upon the word “awarded” in its
 Amended Offer of Judgment to support its position. Defendant’s argument is not
 persuasive. If Defendant wanted to litigate Plaintiff’s entitlement to injunctive and
 declaratory relief, Defendant should not have offered it in the Amended Offer of
 Judgment. Moreover, the Amended Offer of Judgment contains no provision denying
 the allegations in the Complaint or otherwise denying liability. The Court therefore
 rejects Defendant’s argument and “awards” Plaintiff declaratory and injunctive relief
 based on the language in the Complaint and the Amended Offer of Judgment.

                                              3
